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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 06-CR-20411

RUDOLPH DALRON WILLIAMS, et al.,

              Defendants.
                                                 /

     ORDER DENYING DEFENDANTS’ “MOTION TO COMPEL PROSECUTOR TO
          IDENTIFY STATEMENTS OFFERED UNDER FRE 801(D)(2)(E)”

       Pending before the court is Defendant Rudolph Williams’ “Motion to Compel

Prosecutor to Identify Statements Offered Under FRE 801(D)(2)(E),” filed on October

15, 2009. Defendants Derrick Young and Frank Pierce join in this motion. On October

27, 2009, the Government filed a response, and the Defendants filed a reply on

November 16, 2009. Having reviewed the briefs, the court concludes a hearing on this

motion is unnecessary. See E.D. Mich. LR 7.1(e)(2). For the reasons stated below, the

court will deny Defendants’ motion.

       Defendants request that the court enter an order compelling the Government to

identify any statements it intends to introduce under Federal Rule of Evidence

801(d)(2)(E). (Defs.’ Mot. at 1.) In the brief, Defendants set forth the findings that must

be made before co-conspirator statements can be admitted pursuant to Rule

801(d)(2)(E). (Defs.’ Mot. Br. at 2 (citing United States v. Enright, 579 F.2d 980 (6th Cir.

1978)).) Defendants argue that the court should compel the Government to declare

whether it intends to offer statements under Rule 801(d)(2)(E) in order to avoid delays

during trial. (Id. at 3.) In this way, the court can make the Enright findings in advance,
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which would serve the interests of judicial economy and avoid putting Defendants at a

disadvantage. (Id. at 3-4.)

       In its response, the Government argues that the law does not require it to reveal

its witnesses prior to trial. (Govt.’s Resp. at 2.) It argues that an order requiring the

Government to provide Defendants with co-conspirator statements of the Government’s

witnesses is prohibited by Federal Rule of Criminal Procedure 16 and the Jencks Act.

(Id. at 3-4.) The Government further argues that the court cannot make an informed

ruling on the co-conspirator statements without hearing the evidence at trial and

therefore the admissibility of these statements is not the proper subject of a pretrial

ruling. (Id. at 4.)

       In the reply, Defendants deny that their motion is a broad discovery request

beyond that permissible under Rule 16 and 18 U.S.C. § 3500. (Defs.’ Reply at 1.) They

insist that they are not seeking witness statements, but instead are seeking the

statements of alleged co-conspirators who will not be testifying. (Id. at 3.)

       Federal Rule of Criminal Procedure 16 does not “authorize the discovery or

inspection of statements made by prospective government witnesses except as

provided in 18 U.S.C. § 3500.” Fed. R. Crim. P. 16(a)(2). Title 18 U.S.C. § 3500 states

that “no statement or report in the possession of the United States which was made by

a Government witness or prospective Government witness (other than the defendant)

shall be the subject of subpoena, discovery, or inspection until said witness has testified

on direct examination in the trial of the case.” 18 U.S.C. § 3500. “The blunt command

of the statue together with the unequivocal legislative history has led to unbroken

precedent in the Court of Appeals denying to district courts the power to compel


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production of the statements of government witnesses until conclusion of direct

examination at trial.” United States v. Murphy, 569 F.2d 771, 773 (3d Cir. 1978).

       To the extent that Defendants are requesting the production of the statements of

Government witnesses, the court will deny the motion based on Federal Rule of

Criminal Procedure 16 and the Jencks Act. See 18 U.S.C. § 3500; Fed. R. Crim. P. 16.

But even putting aside the Government’s concerns that this is an attempt at broad-

based discovery not permitted by rule or statute, the court finds that the interests of

judicial economy, asserted by Defendants in support of the motion, do not support their

request for the Government’s potential Rule 801(d)(2)(E) statements.

       Federal Rule of Evidence 801(d)(2)(E) provides that a statement is not hearsay if

it is offered against a party and is “a statement by a co-conspirator of a party during the

course and in furtherance of the conspiracy.” When determining the admissibility of

statements under this Rule, the district court is required to find that: “(1) the conspiracy

existed; (2) the defendant was a member of the conspiracy; and (3) the co-conspirator

made the proffered statements in furtherance of the conspiracy.” United States v.

Warman, 578 F.3d 320, 335 (6th Cir. 2009) (noting that the Sixth Circuit “sometimes

refer[s] to this as an Enright finding” based on United States v. Enright, 579 F.2d 980

(6th Cir. 1978)). Although the co-conspirator’s statement can be used as evidence to

support these findings, there must be also be “some independent, corroborating

evidence” beyond the mere statement. United States v. Clark, 18 F.3d 1337, 1341-42

(6th Cir. 1994). “The district court may ‘admit the hearsay statements subject to later

demonstration of their admissibility by a preponderance of the evidence.’” Warman, 578

F.3d at 335 (quoting United States v. White, 58 F. App’x 610, 614 (6th Cir. 2003)).


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       The court finds no reason to compel the Government to produce statements it

intends to offer under the co-conspirator exception to the hearsay rule. Defendants cite

no authority where a court has required the Government to turn over statements that it

intends to offer under this exception. Nor have Defendants established that the

Government intends to even offer statements under this exception.

       Contrary to Defendants’ arguments, litigating these issues at this stage in the

proceedings would waste judicial resources and lead to a “trial within a trial.” As

discussed above, if the Government intends to offer statements under Rule

801(d)(2)(E), then it is required to put forward independent evidence of the conspiracy

and the defendant’s involvement besides the statement itself. See Clark, 18 F.3d at

1341-42. Thus, in order to determine the admissibility of these statements, the court

would have to hear additional evidence regarding the alleged conspiracy. See id.

Although holding a “mini-hearing” is one acceptable method for making Enright findings,

the court finds that based on the circumstances of this case, it would be “burdensome,

time-consuming, and uneconomic.” United States v. Vinson, 606 F.2d 149, 152 (6th

Cir. 1979) (noting that the “mini-hearing” method has its critics but that a trial judge “may

choose to order the proof in this manner if the circumstances warrant”). The court will

not require the Government to prove evidence of a conspiracy under Federal Rule of

Evidence 801(d)(2)(E) at a pre-trial hearing, and then use the same evidence at trial to

prove to a jury that Defendants engaged in the same conspiracy. While Defendants

would no doubt welcome the chance to preview the Government’s case and how it

intends to present that case to the jury, the court declines to force the Government to

provide this roadmap, particularly when Defendants have put forth no compelling reason


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to do so. Accordingly,

           IT IS ORDERED that Defendants’ “Motion to Compel Prosecutor to Identify

Statements Offered Under FRE 801(d)(2)(E)” [Dkt. #149] is DENIED.


                                                                     S/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE


Dated: January 15, 2010
I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 15, 2010, by electronic and/or ordinary mail.


                                                                     S/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




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